    Case 2:22-cv-00334-MHT-JTA Document 4 Filed 06/07/22 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


REV. JARMAL JABBAR                  )
SANDERS, M.D.,                      )
                                    )
     Plaintiff,                     )
                                    )         CIVIL ACTION NO.
     v.                             )          2:22cv334-MHT
                                    )
JOHN H. MERRILL,                    )
                                    )
     Defendant.                     )

                                ORDER

    For good cause shown, it is ORDERED that, pursuant

to 28 U.S.C. § 636, this case is referred to the United

States    Magistrate        Judge       for    consideration           and

disposition or recommendation on all pretrial matters

as may be appropriate.

    DONE, this the 7th day of June, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
